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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS                               January 09, 2024
                               GALVESTON DIVISION                                  Nathan Ochsner, Clerk


Darryl George, et al.                           §
  Plaintiff,                                    §
                                                §
v.                                              §     CIVIL ACTION NO. 3:24−cv−00012
                                                §
Greg Abbott, et al.                             §
  Defendant.                                    §

                           ORDER FOR CONFERENCE AND
                        DISCLOSURE OF INTERESTED PARTIES

1. Counsel and all pro se parties shall appear for an initial pretrial and scheduling
   conference before United States Magistrate Judge Andrew M. Edison at the following
   time and place:

                                  April 3, 2024, at 09:00 AM
                                            by video

     Attendance by an attorney who is knowledgeable about the case and who has authority
     to bind each represented party is required at the conference. The court will enter a
     docket-control order at the conference.

2. CERTIFICATE OF INTERESTED PARTIES: Within 14 days following receipt of
   this order, counsel shall file with the clerk a certificate listing all persons, associations
   of persons, firms, partnerships, corporations, affiliates, parent corporations, or other
   entities that are financially interested in the outcome of this litigation. If a group can be
   specified by a general description, individual listing is not necessary. Underline the
   name of each corporation whose securities are publicly traded. If new parties are added
   or if additional persons or entities that are financially interested in the outcome of the
   litigation are identified at any time during the pendency of this litigation, then each
   counsel shall promptly file an amended certificate with the clerk..

3. NOTICE TO PARTIES ASSERTING FEDERAL JURISDICTION IN DIVERSITY
   CASES: Under 28 U.S.C. § 1332 there must be complete diversity between plaintiffs
   and defendants. Complete diversity requires that all persons on one side of the
   controversy be citizens of different states from all persons on the other side. The party
   asserting federal jurisdiction in a diversity action has the burden to demonstrate that
   there is complete diversity. The citizenship of a limited-liability business organization
   is determined by the citizenship of its members. Harvey v. Grey Wolf Drilling Co., 542
   F.3d 1077, 1080 (5th Cir. 2008). When members of a limited-liability entity are
   themselves entities or associations, citizenship must be traced through however many
   layers of members it may take to reach a person or entity that is not a limited-liability
   entity and identifying its citizenship status. See Mullins v. TestAmerica, Inc., 564 F.3d
   386, 397 (5th Cir. 2009). If the complaint or notice of removal filed in this action does
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   not show the citizenship of all limited-liability entities, the plaintiff (if initiating the
   action in federal court) or the defendant (if removing the action from state court) is
   ORDERED to file an amended complaint or notice of removal, respectively, within
   twenty days following the entry of this order. The failure to allege facts establishing
   complete diversity of citizenship may result in dismissal or remand of this action by
   the court on its own initiative without further notice.

4. After the parties confer as required by Fed. R. Civ. P. 26(f), counsel and all parties
   appearing pro se shall prepare and file, not fewer than 10 days before the scheduling
   conference, a joint discovery/case management plan using the form attached.

5. Counsel and all pro se parties who file or remove an action must serve a copy of this
   order with the summons and complaint or the notice of removal.

6. The parties may commence discovery before the scheduling conference.

7. Initial disclosures may not be delayed. They must be exchanged with opposing counsel
   before the scheduling conference.

8. Failure to comply with this order may result in sanctions, including dismissal of the
   action and assessment of fees and costs.

JUDGE BROWN'S PROCEDURES: Judge Brown has promulgated rules of practice for
cases in Galveston. They can be found at the below link. Please read and follow them.
https://www.txs.uscourts.gov/sites/txs/files/GalvestonDistrictCourtRulesofPractice.pdf

                                * By Order of the Court *
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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

___________________________,                     §
                                                 §
                       Plaintiff(s),             §
                                                 §
v.                                               §          Civil Action No. ______________
                                                 §
___________________________,                     §
                                                 §
                     Defendant(s).               §

                JOINT DISCOVERY/CASE MANAGEMENT PLAN
                            UNDER RULE 26(f)
                   FEDERAL RULES OF CIVIL PROCEDURE
            (Please restate the instruction before furnishing the information.)

1.   State where and when the meeting of the parties required by Rule 26(f) was held, and
     identify the counsel or self-represented litigant who attended for each party. NOTE:
     the Rule 26(f) meeting must be held in person, by phone, or by video. Email
     meetings are not permitted.

2.   List the cases related to this one that are pending in any state or federal court, with
     the case number and court, and state how the cases are related.

3.   Briefly describe what this case is about.

4.   Identify any issues as to service of process, personal jurisdiction, or venue.

5.   Federal jurisdiction.

     a.   Specify the allegation of federal jurisdiction.

     b.   Identify the parties, if any, who disagree with the plaintiff's federal
          jurisdictional allegations, and state their reasons.

     c.   If federal jurisdiction is based on diversity of citizenship and any of the parties
          is a limited liability entity, please state the citizenship of each of the members
          of the limited liability entity. When members of a limited liability entity are
          themselves entities or associations, citizenship must be traced through however
          many layers of members there are until arriving at the entity that is not a
          limited liability and identifying its citizenship.See Acadian Diagnostic Labs.,
          L.L.C. v. Quality Toxicology, L.L.C., 965 F.3d 404, 408 fn.1 (5th Cir. 2020).
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6.   List anticipated additional parties that should be included, and by whom they are
     wanted.

7.   List anticipated interventions.

8.   Describe class-action or collective-action issues.

9.   State whether each party has made the initial disclosures required by Rule 26(a). If
     not, describe the arrangements that have been made to complete the disclosures and
     the dates.

10. If the case includes a claim for attorneys' fees, state whether the parties agree to
    submit the fees issue to the court for resolution on affidavits or declarations, after the
    other issues are resolved.

11. Describe the proposed discovery plan, including:

     a.    Responses to the matters raised in Rule 26(f), including any agreements (and
           disputes) concerning electronic and other discovery.

     b.    Any threshold issues−such as limitations, jurisdiction, or immunity−that should
           be scheduled for early resolution, what discovery targeted to those issues may
           need to occur early, and how long this targeted discovery will take.

12. Experts

     a.    Are experts needed on issues other than attorneys' fees?

     b.    If medical experts are needed, identify whether they are only treating
           physicians or also designated on other issues.

     c.    The date the party with the burden of proof on an issue will be able to
           designate experts and provide the reports required by Rule 26(a)(2)(B).

     d.    The date the opposing party will be able to designate responsive experts and
           provide the reports required by Rule 26(a)(2)(B).

13. State the date discovery can reasonably be completed.

14. If the parties are not agreed on a part of the discovery plan, describe the separate
    views and proposals of each party.

15. Specify the discovery beyond initial disclosures that has been undertaken to date.

16. Describe the possibilities for a prompt settlement or resolution of the case that were
    discussed in your Rule 26(f) meeting or have emerged since then.
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17. From the attorneys' discussion with the clients, state the alternative dispute resolution
    techniques that are reasonably suitable and when they are likely to be effective in this
    case.

18. With the consent of all parties, United States Magistrate Judge Andrew Edison may
    preside and hear jury and non-jury trials. Indicate the parties' joint position on a trial
    before Judge Edison.

19. State whether a jury demand has been made and if it was made on time.

20. Specify the number of hours it will likely take to present the evidence.

21. List pending motions that may be ruled on at the initial pretrial and scheduling
    conference.

22. List other pending motions.

23. List issues or matters, including discovery, that should be addressed at the
    conference.

24. Certify that all parties have filed Disclosure of Interested Parties as directed in the
    Order for Conference and Disclosure of Interested Parties, listing the date of filing
    for original and any amendments. DO NOT STATE THAT THE DISCLOSURE OF
    INTERESTED PARTIES WILL BE FILED IN THE FUTURE.




Counsel for Plaintiff(s)                                                Date




Counsel for Defendant(s)                                                Date
